            Case 4:18-cr-00303-BSM Document 11 Filed 03/06/19 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )    4:18CR00303- BSM
                                                        )
JERRON VINCENT TAYLOR                                   )


                   MOTION FOR PRETRIAL RELEASE REVOCATION

       The United States of America, by and through its attorney, Cody Hiland, United States

Attorney for the Eastern District of Arkansas and Chris Givens, Assistant United States Attorney

for said district, moves to revoke defendant Jerron Vincent Taylor’s pretrial release and, in

support of its motion, states:

       1.       The defendant was indicted on June 6, 2018, and released on pretrial conditions

January 22, 2019. Trial is set for July 22, 2019.

       2.       Among the conditions of bond was the requirement that the defendant not commit

any violations of state, local or federal law, must not use or possess any controlled substances,

must not possess any firearms, submit to supervision and report for supervision to the U.S.

Probation Office, submit to drug testing as requested by his supervising officer, participate in

drug treatment as required by his supervising officer, and maintain regular contact and report to

his supervising probation officer.

       3.       On January 23, 2019, the defendant submitted a urine specimen which tested and

confirmed positive for amphetamine, methamphetamine, and cocaine. Furthermore, on January

23, 2019, the defendant admitted to using the drugs on January 19, 2019.

       4.       On January 25, 2019, the defendant submitted a urine specimen which tested and


                                                    1
            Case 4:18-cr-00303-BSM Document 11 Filed 03/06/19 Page 2 of 3




confirmed positive for marijuana, methamphetamine, and cocaine. Furthermore, on March 6,

2019, Alere Laboratories confirmed these positive results were due to new drug use.

       5.       On January 28, 2019, the defendant submitted a urine specimen which tested and

confirmed positive for marijuana. Furthermore, on March 6, 2019, Alere Laboratories confirmed

this positive result was due to new drug use.

       6.       On February 6, 2019, the defendant submitted a urine specimen which tested and

confirmed positive for methamphetamine and cocaine. Furthermore, on March 6, 2019, Alere

Laboratories confirmed these positive results were due to new drug use.

       7.       On February 12, 2019, the defendant failed to report for substance abuse

treatment at Freedom House in Russellville, Arkansas, as instructed.

       8.       On February 14, 2019, the defendant submitted a urine specimen which tested and

confirmed positive for cocaine and methamphetamine. Furthermore, on March 6, 2019, Alere

Laboratories confirmed these positive results were due to new drug use.

       9.       On February 28, 2019, the defendant was discharged from residential substance

abuse treatment at Crowley’s Ridge Development Council in Jonesboro, Arkansas, as a program

failure. According to the discharge report, he was verbally abusive to the director and counselor,

did not participate in treatment, and failed to follow program rules.

       10.      On March 6, 2019, an administrative staffing was conducted at the U.S. Probation

Office with the defendant, U.S. Probation Officer, and the Supervisory U.S. Probation Officer.

The defendant admitted to abusing his hydrocodone prescription, methamphetamine, and cocaine

approximately twice a week while on bond during the months of January and February 2019, and

signed an admission form.


                                                 2
         Case 4:18-cr-00303-BSM Document 11 Filed 03/06/19 Page 3 of 3




       THEREFORE, based on the defendant’s violations of pretrial release as described

above, the United States moves that a summons for the defendant be issued and the defendant

appear before this court to show cause why her conditions of release should not be revoked.



                                                    CODY HILAND
                                                    United States Attorney

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                                               3
